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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.
                                               Case No. 11-cr-64-02/03-SM

Cezar Iulian Butu and Iulian Dolan,
      Defendants

                                      ORDER


      Defendant Cezar Iulian Butu has filed an Assented to Motion to Continue the

final pretrial conference and trial for 30 days, which motion is granted (document

no. 24).    Trial has been rescheduled for the May 2012 trial period.      Defendant

Butu shall file a waiver of speedy trial rights not later than March 12, 2012.    On the

filing of such waiver, his continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. ' 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is rescheduled for May 4, 2012 at 10:00 a.m.

      Jury selection will take place on May 15, 2012 at 9:30 a.m.



      SO ORDERED.



                                     _________________________
                                     Steven J. McAuliffe
                                     U.S. District Judge
February 29, 2012

cc:   Michael C. Shklar, Esq.
      Jonathan R. Saxe, Esq.
      Arnold H. Huftalen, AUSA
      U.S. Marshal
      U.S. Probation




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